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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

 MIRABILIS VENTURES, INC. and                  )    Case No.: 6:07-CV-1788-ORL-28-JA-GJK
 NEXIA STRATEGY CORPORATION,                   )
                                               )
                       Plaintiffs,             )    NOTICE OF SETTLEMENT IN
 -vs.-                                         )    PRINCIPLE BETWEEN EDITH CURRY
                                               )    AND FRANK HAILSTONES,
 PALAXAR GROUP, LLC;                           )    COUNTERCLAIM PLAINTIFFS, AND
 PALAXAR HOLDINGS, LLC;                        )    NEXIA STRATEGY CORPORATION,
 FRANK HAILSTONES; EDITH CURRY                 )    COUNTERCLAIM DEFENDANT
 a/k/a EDITH BROADHEAD; and                    )
 TERENCE CHU,                                  )
                                               )
                       Defendants,             )
                                               )
                                               )
                                               )
 vs.                                           )
                                               )
 MIRABILIS VENTURES, INC., et al.              )
                                               )
              Counterclaim and                 )
              Third Party                      )
              Defendant                        )
 ____________________________


         This NOTICE is filed to inform the Court that the Counterclaim Plaintiffs Curry and

 Hailstones have reached a settlement in principle with the Counterclaim Defendant Nexia

 Strategy Corporation. The formal resolution of the claims will be submitted to the Court within

 the next ten business days.

                                                   Respectfully submitted,
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                                             /s/ Martin R. Raskin__________
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                                             Attorneys for Counterclaim Plaintiff Curry




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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 16, 2011, I electronically filed the foregoing Notice

 of Settlement in Principle between Counterclaim Plaintiffs Curry and Hailstones and

 Counterclaim Defendant Nexia Strategy Corporation with the Clerk of Court using the CM/ECF

 system and have sent a copy of the document to the pro se parties and/or counsel who are not

 registered with the CM/ECF system.

 Terence Chu (via email)

 Yaniv Amar (via email)

 Adam Loewy (via email)

 Frank L. Amodeo B-3 (via Priority Mail)
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